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               EXHIBIT A
                PART 4
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                                                 Volcano Slots ­ Jackpot       01/03/17 Page 7 of 19
                                                                         our Casino!

          Download the app for your computer. All machines ‐ always available.                                              DOWNLOAD




          _____!
                      crack the jackpot                                                                                           WIN NOW

                   8 672 962 РУБ                                                                                          iks0402 **              300 rub


                        ALL GAMES                                                              To bookmarks                       SIGN IN

                   Game room                Points             Loĥery                Jackpots                 Bonuses         Score         Download Volcano




                               check in                                                                JACKPOTS
                            Email
                                                           Winning is formed from the contribuĕons from each of the bet
                                                           in these slots. Jackpot is played at any rate at any ĕme.          HOLDERS jackpot
                            Пароль

                        I accept the terms and condiĕons
   24/7
                        Remember me
SUPPORT




                                  Sign up

                                 Login with:


                        I am already registered Login

                                                                                                          MORE


                                                                              In the drawing of the jackpot games are involved:




                                                                            Sweet Dream                 Fruit Cocktail         Sweet Life




                                    MORE




                                                                                                          MORE


                                                                              In the drawing of the jackpot games are involved:




                                                                         Lucky Lady's Charm           Preĥy Housewives          Cabaret

https://vulcan­club­online.com/jackpots                                                                                                                        1/3
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                                                                      our Casino!




                                                                             MORE


                                                        In the drawing of the jackpot games are involved:




                                                        Hot Vegas        Bananas go Baham...    Fruit Cocktail 2




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                                                                             MORE


                                                        In the drawing of the jackpot games are involved:




                                                    Vikings' Expansion         Hunter             demobee




                                                                             MORE


                                                        In the drawing of the jackpot games are involved:




                                                       Marco Polo            Bon Voyage        Columbus Deluxe




https://vulcan­club­online.com/jackpots                                                                            2/3
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                                                                       our Casino!

                                                                                                              LIST OF WINNERS
                                                                            Player                      The name of the jackpot                           Winning, rub                          date

                                                                 Nick**                              Peĕte jackpot                                                  835049              08.09.2016 11:24

                                                                 Zak **                              "Hot" Jackpot                                                  896494              08.09.2016 11:24

                                                                 ABBAFO **                           Fruit jackpot                                                  865855              03.09.2016 21:25

                                                                 STAJ **                             Male jackpot                                                 1143884               15.08.2016 17:26

                                                                 Che **                              Peĕte jackpot                                                  831465              08.12.2016 8:29

                                                                 Anatoluy_A66ac **                   Traveller Jackpot                                            1025730               03.08.2016 13:33

                                                                 Andrey_Go **                        "Hot" Jackpot                                                  888911              27.07.2016 20:32

                                                                 Hag **                              Fruit jackpot                                                  861906              07.20.2016 2:38

                                                                 @ Mar **                            Peĕte jackpot                                                  831701              07.16.2016 5:34

                                                                 Kazab **                            Male jackpot                                                 1144616               07.08.2016 12:24

                                                                 Werewo **                           Traveller Jackpot                                            1029304               06.21.2016 4:35




                                                                                                                      1     2     3     ...    8


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                      crack the jackpot                                                                                                        WIN NOW


                   8 675 653 РУБ                                                                                                   Cyril **                3000 rub


                        ALL GAMES                                                              To bookmarks                                     SIGN IN

                   Game room                 Points             Lo蛂ℑery              Jackpots                 Bonuses                       Score    Download Volcano




                                check in                                                          BONUS ACTIVITY
                             Email

                                                                                                           Game Club volcano likes to make gi�蕢s to
                             Пароль
                                                                                                           their players. One of these gi�蕢s ‐ a
                        I accept the terms and condi堒즥ons
                                                                                                           bonus for ac堒즥vity. How it works?
   24/7
                        Remember me                                                                        Your phone number
SUPPORT




                                  Sign up                                                                     +7              Номер


                                 Login with:
                                                                                                                                       SEND
                        I am already registered Login




                                                                                                To get the bonus, enter the player's application form or in the form
                                                                                                 of a telephone number and play the slot machines for money. The
                                                                                                              more you play, the higher the bonuses.

                                                                Do not worry, we will not bother you calls.
                                                                Nice girl‐operators 1‐2 堒즥mes a month will inform you of the bonus credited to your
                                                                account.

                                                               We give bonuses of ac堒즥ve players in our casino. The bonus amount will depend on your ac堒즥vity. If
                                                               for any reason you want to give up bonuses, simply inform the nice girl‐operator. Although you
                                                               will not need for this, because regular bonuses from Vulcan ‐ is no noncommi蛂ℑal gi�蕢. For us the
                                                               important thing is that you are sa堒즥sﬁed!

                                     PLAY


                                                                                      FIRST DEPOSIT BONUS
                                                                                      You signed up for the club? Excellent! It's 堒즥me to try your luck and start
                                                                                      playing! Volcano Club gives each player welcome bonus. The percentage of
                                                                                      the bonus depends on the amount of your ﬁrst deposit.


                                                                                       CONDITIONS OF THE BONUS:
                                                                                              go registra堒즥on

                                                                                              replenish a deposit of $ 100


                                                                               THE AMOUNT OF BONUS ON YOUR FIRST DEPOSIT:

                                                            Deposit                                bonus           The amount of bonus                   Wager

                                                            From 100 to 499 rubles                100%             From 100 to 499 rubles                    45

https://vulcan­club­online.com/bonuses                                                                                                                                  1/3
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                                                      Actual bonuses 1-5
                                         From 100 to 499 rubles
                                                                             Filed
                                                                     online casino
                                                                             100%
                                                                                     01/03/17
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                                                                                        From 100 to 499 rubles                                          45

                                                  From 500 to 999 rubles                    200%        From 1000 to 1998 rubles                        45

                                                  From 1000 to 1999 rubles                  250%        From 2500 to 4997.5 rubles                      45


                                                  From 2000 to 9999 rubles                  300%        From 6000 to 29997 rubles                       45

                                                  From 10000 to 19999 rubles                350%        From 35000 to 69996.5 rubles                    45

                                                  From 20000 to 39999 rubles                400%        From 80,000 to 159,996 rubles                   45




                                                                                 BONUS FOR ANY DEPOSIT
                                                                                 You have already rated our slot machines? You want to play?
                                                                                 Remember each subsequent replenishment also gives the opportunity to
                                                                                 receive a bonus.


                                                                                 CONDITIONS OF THE BONUS:
                                                                                        reﬁll your account for the amount of 100 rubles


                                                  Deposit                                     bonus       The amount of bonus                      Wager


                                                  From 100 to 499 rubles                     100%         From 100 to 499 rubles                        45


                                                  From 500 to 999 rubles                     120%         From 600 to 1198.8 rubles                     45
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                                                  From 1000 to 1999 rubles                   150%         From 1500 to 2998.5 rubles                    45
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                                                  From 2000 to 4999 rubles                   200%         From 4000 to 9998 rubles                      45

                                                  From 5000 to 9999 rubles                   250%         From 12500 to 24997.5 rubles                  45


                                                  From 10,000 to 40,000 rubles               270%         From 27,000 to 108,000 rubles                 45




                                                                                 COUPONS
                                                                                 Using a coupon, you can increase your deposit several 堒즥mes.
                                                                                 Enter the promo堒즥on code in the ac堒즥va堒즥on of the line when replenishing the
                                                                                 deposit online gaming club and get a bonus. Sign up online and get coupons
                                                                                 in the mail, or sign up for our group VKontakte and the ﬁrst to learn about
                                                                                 new coupons. Please note, the validity of the coupon is limited. Use the
                                                                                 coupon can be for 2‐3 days.

                                                                                 An important condi堒즥on for receiving the bonus coupon is to make the
                                                                                 minimum amount speciﬁed in the coupon.


                                                                                 CONDITIONS OF THE BONUS:
                                                                                        receive a coupon

                                                                                        replenish the deposit for the amount speciﬁed in the
                                                                                        coupon
                                                                                        when funding the account enter the promo code Coupon



                                                                                 BONUS FOR FRIEND
                                                                                 Play with friends more fun and more proﬁtable! For every friend you refer in
                                                                                 a one‐堒즥me gi�蕢 to you will be credited with the bonus wager wagering 45.
                                                                                 The size of the bonus will be equal to the sum of the ﬁrst deposit made by
                                                                                 your friend for a game. The bonus for a player registered on the website at
                                                                                 least 30 days.


                                                                                 CONDITIONS OF THE BONUS:
                                                                                        invite a friend

                                                                                        Visi堒즥ng the player must replenish your account

https://vulcan­club­online.com/bonuses                                                                                                                          2/3
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                                                                                                          contact customer support for a bonus



                                                                * A蛂ℑen堒즥on!

                                                                Dear players, online casino bonuses, as deposit and no deposit recoup parts. How does it work?

                                                                The total amount of the bonus credited to the bonus account and is divided into parts (1 to 4 units,
                                                                depending on the size of the bonus). A�蕢er the wagering of the bonus money is credited to the main
                                                                account. This means the player can withdraw or con堒즥nue to play. The remainder of the bonus clears
                                                                neotygrannogo same way.

                                                                To clear the bonus 堒즥me for any deposit (ﬁrst or subsequent) is limited and depends on the amount of
                                                                replenishment: for deposits up to 1000 rubles. ‐ 30 days, more than 1000 rubles. ‐ 60 days.




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                                                                                           your ques堒즥ons by phone: + 7‐499‐999‐1234, + 38‐044‐594‐6939, you can also take the help of online.




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